                                                              UNITED STATES BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA

 In re:                                                                                     Chapter 13
                   Maximino Rodriguez                                                       Case No. 14-52923 CN
                   Maria Evelia Rodriguez
                                                                                            APPLICATION FOR COMPENSATION;
                                                                                            DECLARATION
 Debtor(s)                                                                              /


1.     Debtor(s') attorney, Clark A. Miller 51151 , requests the approval of attorney's fees in the sum of $ 5,350.00
pursuant to the attorney's fee disclosure statement filed with the Court and the Guidelines for Payment of Attorney’s Fees
in Chapter 13 Cases (San Jose Division). Of the sum requested, the amount of $ 1,350.00 has been previously paid to
Debtor(s)’ attorney.

2.           In addition to the basic case, the Debtor(s') case involves:

               XXReal property claims
                Compromise plan use
                Certain additional real property:  piece(s)
                State or federal tax claims
              XX Vehicle loans or leases
                An operating business
                Support arrears
                Student loans
                25 or more creditors
                Motion to commence or extend the automatic stay

3.     A copy of the RIGHTS AND RESPONSIBILITIES OF CHAPTER 13 DEBTORS AND THEIR ATTORNEYS,
executed by the Debtor(s) and Debtor(s') attorney, has been filed with the Court.

4.           All fees are subject to Court approval, whether paid in advance or through the plan.

       I, the undersigned, declare, under penalty of perjury, that the foregoing is true and correct to the best of my
knowledge.

 Dated:           July 1, 2014                                                         /s/ Clark A. Miller
                                                                                       Clark A. Miller 51151
                                                                                       Attorney for Debtor(s)




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